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                                   UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


        RICHARD EVANS, lndlvldually,
        and as Administrator of the                          CIVIL ACTION
        Estate of MELISSA EVANS, deceased
                                                             NO. 16-cv-0109
        v.
        LUCKY COG ENTERPRISES LLC,
        tie WHITE DOG CAFE                                                                I "   • ..,.,.....,   ...,..,_   '   "'   e   '"   '   ...   •,'   0•'• '·~ >' i '



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                                                                                                                                                              '•    •.,.r       ' '~




                                                     ORDER

               AND NOW,     this~of        tPI:                  , 2017, upon consideration of the Motion

        for Approval of Settlement of the above-captioned matter, It Is hereby ORDERED and DECREED

        that the proposed settlement between the parties in the amount of Fifteen Thousand ($15,000.00)

        Dollars ls approved and the distribution of these funds Is directed as follows:


               a) To Richard Evans, as Administrator of the Estate of Mellssa Evans, to be thereafter

        properly distributed by the Administrator in accord with the Intestate Code of Pennsylvania:

         $9,580.82

               b) To JAFFE & HOUGH, P.C., for reimbursement of costs:

               c) To JAFFE & HOUGH, P.C., for attorneys fees:
